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   Counsel for Defendant MORGOVSKY
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 9
                                  IN THE UNITED STATES DISTRICT COURT
10
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN FRANCISCO DIVISION
12

13    UNITED STATES OF AMERICA,                          No. 16-411 VC
14                           Plaintiff,                  MOTION AND [PROPOSED] ORDER TO
                                                         SEAL AND FILE EX PARTE
15       v.                                              UNREDACTED VERSION OF AMENDED
                                                         MOTION FOR SELF-SURRENDER TO
16    NAUM MORGOVSKY,                                    BOP AND EXHIBIT A TO MOTION.
17                           Defendant.
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19
              Defendant Naum Morgovsky has filed a redacted version of his Amended Motion for
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     Self-Surrender to the BOP on the public docket (Docket 433). He now moves the Court to file
21
     the unredacted version under seal and to maintain that filing on an ex parte basis, without
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     allowing access to the government. The reason for this request is that the redacted portion of the
23
     amended motion references a 10/31/2018 hearing transcript of the attempted withdrawal of prior
24
     counsel William Osterhaudt, a proceeding that government counsel was excluded from. The
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     10/31/2018 transcript that is quoted in the redacted portion of the motion is currently maintained
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     by the Clerk of Court under seal. As such, these references should not be included in the public
27
     record at this time.
28
     UNITED STATES V. MORGOVSKY, CR 16-411 VC
     [PROPOSED] SEALING ORDER                        1
                Case 3:16-cr-00411-VC Document 434 Filed 01/11/19 Page 2 of 3




 1            Mr. Morgovsky also moves to file under seal Exhibit A to the aforementioned motion,

 2 which is the sealed portion of the transcript of the 10/31/2018 hearing that involves the motion to

 3 withdraw/motion to discharge counsel. Again, government counsel was excluded from this

 4 portion of the proceeding. This is the exhibit that the redacted quotes derive from in the

 5 publically filed version of the motion. Mr. Morgovsky so moves to seal Exhibit A to his motion

 6 for the reasons previously stated.

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 8
 9   Dated:        January 11, 2019                        Respectfully submitted,

10                                                         STEVEN G. KALAR
                                                           Federal Public Defender
11                                                         Northern District of California
12                                                                   /S
                                                           ELIZABETH FALK
13                                                         Assistant Federal Public Defender
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16

17                                          [PROPOSED] ORDER

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19            FOR GOOD CAUSE SHOWN, the Clerk of Court is directed to file the unredacted

20 version of Defendant’s Amended Motion for Stay of Surrender to the BOP under seal. The

21 Clerk of Court is further directed to file Exhibit A to the same motion under seal. These filings

22 shall not be made accessible to the United States until further order of the Court.

23            IT IS SO ORDERED.

24

25 Dated_________________________                        ____________________________
                                                         HON. VINCE CHHABRIA
26                                                       UNITED STATES DISTRICT JUDGE

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28
     UNITED STATES V. MORGOVSKY, CR 16-411 VC
     [PROPOSED] SEALING ORDER                        2
              Case 3:16-cr-00411-VC Document 434 Filed 01/11/19 Page 3 of 3




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     UNITED STATES V. MORGOVSKY, CR 16-411 VC
     [PROPOSED] SEALING ORDER                   3
